
PER CURIAM.
The State of Florida, Department of Highway Safety and Motor Vehicles has petitioned this court to issue a writ of certiorari to quash the circuit court’s order granting an award of attorney’s fees and costs to Julie *1053Marie Holtzleiter. The issue involved in this case is the same issue this court recently addressed in State of Florida, Department of Highway Safety &amp; Motor Vehicles v. Salter, 710 So.2d 1039 (Fla. 2d DCA 1998).
We grant the petition and quash the circuit court’s order awarding attorney’s fees and costs to Holtzleiter.
PARKER, C.J., and PATTERSON and ALTENBERND, JJ., concur.
